        Case 1:21-cv-01213-STA-jay Document 11 Filed 01/24/22 Page 1 of 1                           PageID 133



                     UNITED STATES DISTRICT COURT, WESTERN DISTRICT OF TENNESSEE

GRAY CONSTRUCTION, INC.                                         Case No.:       1:21-CV-01213-STA-JAY
                                         Plaintiff/Petitioner
vs.
TYSON FOODS, INC., ET AL.                                       AFFIDAVIT OF SERVICE OF
                                    Defendant/Respondent        SUMMONS; COMPLAINT; NOTICE OF FILING
                                                                CORRECTED DOCUMENT; NOTICE OF APPEARANCE
                                                                (X2)

Received by Rodney Samuels, on the 10th day of January, 2022 at 7:44 AM to be served upon Tyson Foods, Inc. c/o
CORPORATION TRUST COMPANY, REGISTERED AGENT at CORPORATION TRUST CENTER, 1209 North Orange
Street, Wilmington, New Castle County, DE 19801.
On the 10th day of January, 2022 at 10:31 AM, I, Rodney Samuels, SERVED Tyson Foods, Inc. c/o CORPORATION
TRUST COMPANY, REGISTERED AGENT at CORPORATION TRUST CENTER, 1209 North Orange Street,
Wilmington, New Castle County, DE 19801 in the manner indicated below:

CORPORATE SERVICE, by personally delivering 1 copy(ies) of the above listed documents to the named Corporation,
by serving CORPORATION TRUST COMPANY, REGISTERED AGENT, on behalf of said Corporation.
THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:
I delivered the documents to CORPORATION TRUST COMPANY, REGISTERED AGENT with identity confirmed by
subject stating their name. The individual accepted service with direct delivery. The individual appeared to be a
black-haired black female contact 55-65 years of age, 5'6"-5'8" tall and weighing 140-160 lbs with glasses. named
Robin Hutt Banks who is authorized to accept service.

Service Fee Total: $129.00

Per U.S. Code § 1746, I declare under penalty of perjury under the laws of the United States of America that the foregoing
is true and correct.




NAME:                                                                                       01/10/2022
         Rodney Samuels; 810 E Basin Rd #H4, New          Server ID #                       Date
         Castle, DE 19720




                                                                                                             Page 1 of 1
          REF: Matter no. 218397                                                                   Tracking #: 0081528118
